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 7
     Bao Lu
 8

 9                             IN THE UNITED STATES DISTRICT COURT

10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                           ) No. CR 99-0433 WBS;
12                                         )     CV 07-2063 WBS
     UNITED STATES OF AMERICA,             )
13
                   Plaintiff,              ) ORDER ALLOWING
                                           ) WITHDRAWAL OF 2255 MOTION
14
           vs.                             ) WITHOUT PREJUDICE
15                                         )
     BAO LU, et al.,                       )
16                                         )
                   Defendants.
17   _____________________________________ )

18
            On motion of defendant Bao Lu, and good cause appearing, IT IS HEREBY ORDERED
19
     THAT defendant Bao Lu’s motion to vacate, set aside, or correct judgment and sentence, filed
20

21   pursuant to 28 USC Section 2255 on October 1, 2007, may be withdrawn by the defendant without

22   prejudice to filing a motion pursuant to Section 2255 after sentence is pronounced on the defendant
23
     by this Court.
24
     Dated: May 28, 2009
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     _______________________________________________________________________________________________
      [ Propo sed ] Ord er A llow ing W ithdr awal of 2255 Mo tion W ithou t Prejud ice,
     [No.CR-99-0433 (WBS)]
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